        Case 1:18-cv-00358-CWD Document 1 Filed 08/15/18 Page 1 of 8



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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO



K. M. B., a minor, by and through her
parents, KURT BLOXHAM and KELLIE        Case No.
BLOXHAM (husband and wife),

                    Plaintiff,          COMPLAINT AND DEMAND FOR
                                        JURY TRIAL
vs.

MODERN ICE EQUIPMENT AND
SUPPLY COMPANY; and DOES I-X,

                    Defendants.




COMPLAINT AND DEMAND FOR JURY TRIAL - 1
            Case 1:18-cv-00358-CWD Document 1 Filed 08/15/18 Page 2 of 8



       COMES NOW, Plaintiff K.M.B. by and through her parents, Kurt Bloxham

and Kelli Bloxham, and by and through her counsel of record, and for her Complaint

against the Defendants captioned above, states and alleges as follows:

                      JURISDICTION, PARTIES, AND VENUE

       1.      At all times mentioned herein, the Plaintiff K.M.B. and her parents,

Kurt Bloxham and Kelli Bloxham, were and are residents of Montpelier, Bear Lake

County, Idaho. Plaintiff K.M.B. is a minor; Kurt Bloxham and Kelli Bloxham are

her biological parents with whom she resides.

       2.      At all times mentioned herein, Defendant Modern Ice Equipment and

Supply Company (“Modern Ice”), was and is an Ohio corporation, with its

headquarters and principal place of business being in Cincinnati, Ohio. Defendant

Modern Ice is a citizen of Ohio for purposes of 28 U.S.C. §1332(b)(1).            Said

Defendant is vicariously liable for any conduct complained of herein done by its

agents and/or employees.

       3.      Jurisdiction is based on diversity pursuant to 28 U.S.C. §1332(a)(1) as

the parties hereto are citizens of different states.        The amount in controversy

exceeds $75,000 in accordance with 28 U.S.C. §1332(a). Venue is proper pursuant

to 28 U.S.C. § 1391(b)(2) as a substantial part of the events or omissions giving rise

to the claims in this case occurred in this judicial district.

       4.      Plaintiff is ignorant of the true names and capacities of the Defendants

sued herein as Does I through X, inclusive, and therefore sues those Defendants by

such fictitious names. Plaintiff is informed and believes, and on that basis, alleges


COMPLAINT AND DEMAND FOR JURY TRIAL - 2
            Case 1:18-cv-00358-CWD Document 1 Filed 08/15/18 Page 3 of 8



that the Defendants sued herein as Does I through X are in some manner legally

culpable for the injuries and damages suffered by the Plaintiff. Plaintiff will amend

this Complaint to allege their true names and capacities when ascertained.

                       FACTS AND GENERAL ALLEGATIONS

       5.      Plaintiff hereby incorporates and realleges each and every paragraph

above as if set forth in full herein.

       6.      In 2007, the owner of a small, family owned bagged ice making facility

in Montpelier, Idaho, “Bear Lake Ice,” contacted Modern Ice and explained that

Bear Lake Ice needed a larger and more efficient ice bin to use with its ice bagging

machine by its employees. Modern Ice knew that Bear Lake Ice intended to have its

employees utilize the ice bin with a certain ice bagging machine which Bear Lake

Ice had previously purchased. The purpose of the ice bin was to transfer ice to the

ice bagging machine for bagging, after which the bagged ice was sold to local

customers.      Modern Ice knew that the ice bagging machine was highly unsafe

unless mated with a very specific type of ice bin that completely sealed off an

exposed auger on the ice bagging machine owned by Bear Lake Ice. Nonetheless,

during this timeframe, in late 2007 to early 2008, Modern Ice selected an ice bin,

recommended that Bear Lake Ice buy said ice bin, and did sell to Bear Lake Ice an

ice bin, for use with the ice bagging machine that did not properly mate with the ice

bagging machine as a system and left the ice bagging machine’s auger dangerously

exposed.




COMPLAINT AND DEMAND FOR JURY TRIAL - 3
            Case 1:18-cv-00358-CWD Document 1 Filed 08/15/18 Page 4 of 8



       7.      During this timeframe, at least one employee or agent of Modern Ice,

believed to be one Ron Lindeman, provided the owner of Bear Lake Ice with

technical advice and an engineering drawing as to fitting the ice bin into the Bear

Lake Ice facility with its ice bagging machine. That same representative of Modern

Ice went so far as to instruct the owner of Bear Lake Ice to fashion a hopper to use

on the ice bagging machine that would fit under the ice bin and catch the ice being

dispensed from it into the ice bagging machine’s auger area. Again, Modern Ice

knew or should have known that using the ice bin with the ice bagger created an

unacceptably dangerous situation for users as it exposed the user to an unguarded

auger given that the ice bin did not properly mate with the ice bagging machine as a

safe system. Modern Ice did not warn or otherwise disclose to Bear Lake Ice that

the ice bin was unsafe to use with the ice bagging machine because it did not

properly mate with it.

       8.      Subsequently, in 2009, an employee or agent of Modern Ice, believed to

be one Wayne Johnson, visited the Bear Lake Ice facility to provide startup services,

said startup services having been purchased in conjunction with the sale of the ice

bin.   Said employee observed the ice bin being used with the ice bagger in an

unmated configuration. Again, Modern Ice knew or should have known that using

the ice bin with the ice bagger created an unacceptably dangerous situation for

users as it exposed the user to an unguarded auger on the ice bagging machine.

Modern Ice did not warn or otherwise disclose to Bear Lake Ice that the ice bin was

unsafe to use with the ice bagging machine because it did not properly mate with it.


COMPLAINT AND DEMAND FOR JURY TRIAL - 4
           Case 1:18-cv-00358-CWD Document 1 Filed 08/15/18 Page 5 of 8



      9.      In 2010 to 2012, additional employees or agents of Modern Ice believed

to be John Louer and Brian Washnock, visited the Bear Lake Ice facility and viewed

the subject ice bin in use with the ice bagging machine and its exposed auger. Said

employees observed the ice bin being used with the ice bagger in an unmated

configuration. Again, Modern Ice knew or should have known that using the ice bin

with the ice bagger created an unacceptably dangerous situation for users as it

exposed the user to an unguarded auger on the ice bagging machine. Modern Ice did

not warn or otherwise disclose to Bear Lake Ice that the ice bin was unsafe to use

with the ice bagging machine because it did not properly mate with it.

      10.     On July 25, 2015, Plaintiff K.M.B., as an employee of Bear Lake Ice,

was operating the ice bagging machine, with the ice bin, in the same configuration

previously observed by employees of Modern Ice, when her left arm was pulled into

the bagger’s unguarded auger beneath the unmated ice bin, whereupon her hand

and arm were severely injured. Upon being extricated from the machine, she was

life-flighted to Primary Children’s Hospital in Salt Lake City, Utah.      Plaintiff

K.M.B.’s injuries are described in the hospital records as consisting of, without

limitation: transected arteries, nerves, tendons, and muscles of the left arm

classified as a partial amputation of the left arm at the proximal left forearm;

neurovascular compromise to the left arm; fractures of the left carpus; and complex

lacerations to the left hand. At age 16, she is now left with permanent impairment,

numbness and loss of sensory function, loss of range of motion, nerve injury,




COMPLAINT AND DEMAND FOR JURY TRIAL - 5
        Case 1:18-cv-00358-CWD Document 1 Filed 08/15/18 Page 6 of 8



weakness, and disfigurement of her left arm.       She continues to receive medical

treatment and has undergone various reconstructive surgeries for her injuries.

      11.    As a result of the injuries she sustained by Plaintiff K.M.B.,

substantial medical bills have been incurred and will continue to be incurred in the

future. Plaintiff K.M.B. has incurred a loss of income. And, Plaintiff K.M.B. has

endured and will endure physical and mental pain and suffering, permanent

impairment, and a loss of enjoyment of life.

                                    NEGLIGENCE

      12.    The Plaintiff hereby incorporates and realleges each and every

paragraph above as if set forth in full herein.

      13.    Defendants failed to exercise reasonable, due care, and were negligent

and reckless in selecting, recommending, and selling the ice bin to Bear Lake Ice, in

providing technical advice to Bear Lake Ice as to incorporation of the ice bin with its

ice bagging machine, as to advising Bear Lake Ice to make a field-made hopper to

use under the ice bin, and in providing startup services.          It was reasonably

foreseeable that employees of Bear Lake Ice would use the system with the

unmated ice bin, as selected, recommend, sold, and witnessed, as occurred in this

case. And, despite knowing of the precise danger at issue, in terms of the ice bin

being used with the ice bagging machine’s exposed auger, i.e., despite knowing that

the ice bagging machine was unsafe if used with anything other than a mated bin

that sealed off the bagger’s auger, Modern Ice, its employees, and agents,




COMPLAINT AND DEMAND FOR JURY TRIAL - 6
            Case 1:18-cv-00358-CWD Document 1 Filed 08/15/18 Page 7 of 8



negligently and recklessly failed to warn as to the probability of a critical injury

from this unmated system.

       14.     Said negligence and recklessness on the part of Defendants was a

proximate cause of, directly resulted in, and/or was a substantial factor in causing

the injuries sustained by Plaintiff K.M.B. and her resulting damages, for which they

are liable.

                          DEMAND FOR ATTORNEY FEES

       15.     As a result of the Defendants’ conduct complained of herein, the

Plaintiff has been required to retain the services of legal counsel to represent her

interests in this matter. Pursuant to Idaho Code §12-121, Rule 54 et seq. of the

Federal Rules of Civil Procedure, and all other applicable laws and rules, Plaintiff is

entitled to an award of reasonable attorney fees and costs incurred herein.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against each of the Defendants

as follows:

       a.      A sum adequate to compensate her for all allowable general damages,

including but not limited to past, present and future physical and mental pain and

suffering, anguish, emotional distress, permanent disfigurement, impairment, and

loss of enjoyment of life, in an amount to be determined at trial;

       b.      A sum adequate to compensate her for special damages consisting of

past, present, and future medical and related expenses, and incidental expenses, in




COMPLAINT AND DEMAND FOR JURY TRIAL - 7
           Case 1:18-cv-00358-CWD Document 1 Filed 08/15/18 Page 8 of 8



an amount unknown to the Plaintiff at this time but which sum shall be more

readily ascertained at the trial of this matter;

      c.      A sum to compensate her for the past loss of income due to her

inability to work during recovery in an amount unknown to the Plaintiff at this

time but which sum shall be more readily ascertained at the trial of this matter;

      d.      Prejudgment interest to the Plaintiff;

      e.      Plaintiff’s reasonable attorney fees and costs incurred in the

prosecution of this action, or $10,000 should this matter proceed by default; and

      f.      Such other and further relief as this Court deems just and equitable.

                            DEMAND FOR JURY TRIAL

      Plaintiff hereby demands, pursuant to F.R.C.P. 38, a trial by a jury on all

issues properly tried to a jury in the above-entitled matter.

      DATED this 15th day of August, 2018.

                                                   MAHONEY LAW, PLLC

                                               By:___________/S/_________________
                                                      PATRICK E. MAHONEY
                                                      Attorney for the Plaintiff




COMPLAINT AND DEMAND FOR JURY TRIAL - 8
